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 4
     Attorney Seeking Appointment
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 6
 7
 8                                 UNITED STATES DISTRICT COURT

 9                             EASTERN DISTRICT OF CALIFORNIA

10
11   UNITED STATES OF AMERICA,                   No. 2:09-CR-00244-MCE

12                    Plaintiff,                 APPLICATION FOR ORDER
                                                 APPOINTING COUNSEL AND
13         v.                                    SUBSTITUTION OF COUNSEL; ORDER

14   ELIAS ALVAREZ RAMIREZ,

15                    Defendant.

16
17         Defendant Elias Alvarez Ramirez hereby moves the Court for an order that the

18   judgment include a recommendation that the BOP prisons place Mr. Ramirez in a prison

19   in California so that his family who lives in Modesto may visit him. Mr. Ramirez informed

20   undersigned counsel that his prior attorney neglected to make this request at

21   sentencing.

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           Date: July 11, 2014                      Respectfully submitted,
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24
                                                    /s/ John Balazs
25                                                  John Balazs

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 1
                                                ORDER
 2
            It is hereby ordered that the judgment for defendant Elias Alvarez Ramirez shall
 3
     include a recommendation to the Bureau of Prisons that Mr. Ramirez be placed in a
 4
     prison in California to the extent available so that his family may visit him.
 5
            IT IS SO ORDERED.
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     Dated: July 25, 2014
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